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         Exhibit C
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                                                                                                                          CollegeBound 529
                                                                                                         Non-Rhode Island
                                                                                                  Resident Enrollment Form

IMPORTANT INFORMATION ABOUT OPENING A NEW ACCOUNT.
We are required by federal law to obtain from certain personal information from each person
                                                                                                        1.877.615.4116
who opens an Account—including name, U.S. permanent street address, and date of birth,                  8 a.m. to 8 p.m. Eastern Time M-F
among other information—that will be used to verify their identity. If we do not receive all
the required information, there could be a delay in opening your Account. If we are unable to
                                                                                                        www.collegebound529.com
verify your identity, we reserve the right to close your Account or take other steps we
deem reasonable.
                                                                                                   Regular mailing address:
• Before investing you should check with your or your Beneficiary’s home state to                 CollegeBound 529
  determine if it offers tax or other benefits for investing in its own plan.                      P.O. Box 55987
                                                                                                   Boston, MA 02205-9722
• You must provide all information except where indicated as optional.
                                                                                                   Overnight mailing address:
• Type in your information and print out the completed form, or print clearly, preferably
                                                                                                   CollegeBound 529
  in capital letters and black ink. Mail the form to the mailing address listed. Do not staple.
                                                                                                   95 Wells Ave, Suite 155
Forms can be downloaded from our website at www.collegebound529.com, or you                        Newton, MA 02459
can call us to order any form — or request assistance in completing this form — at
1.877.615.4116 any business day from 8 a.m. to 8 p.m. Eastern Time.


 1. Account type

           Individual Account. I am opening a new CollegeBound 529 Account.
          	

          	UGMA/UTMA Account. I am opening an UGMA/UTMA Account with assets liquidated from an UGMA/UTMA custodial
             Account. I am aware that this may be a taxable event.

                        Indicate the state (please abbreviate) in which the UGMA/UTMA custodial Account was opened.

           Business Entity/Trust Account. I am opening this Account as a corporation, association, estate, or trust.
          	
           (You must enclose supporting documents substantiating the status of the Business Entity/Trust Account, and the authorization of
           the establishment of the authorized signer. We may also request additional information from you.)

           Scholarship/Non-Profit. I am opening this Account on behalf of a scholarship program, non-profit organization or a state or local
          	
           government (or agency or instrumentality thereof) or (ii) organization described in section 501(c)(3) of the Internal Revenue Code
           and exempt from taxation under section 501(a) as part of a scholarship program operated by such government or organization.
           (You must enclose supporting documents substantiating the status of the entity Account Owner and the authorization of the
           Account and the authority of the person signing the Enrollment Form. We may also request additional information from you.)




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 2. Account Owner information (The Account Owner is the person or entity who owns the Account. This person must be at least
      18 years old.)


      Legal Name (First name) (Required)                                                                                                                            (m.i.)



      Legal Name (Last name) (Required)



      If the Account Owner is a Business Entity/Trust enter Business Entity/Trust name



      Social Security or Taxpayer Identification Number (Required)                                       Birth Date/Trust Date (mm/dd/yyyy) (Required)



      Citizenship (If other than U.S. citizen, please indicate country of citizenship.)



      U.S. Permanent Street Address (P.O. boxes are not acceptable.) (Required)



      City                                                                                                State           Zip Code



      Account Mailing Address if different from above (This address will be used as the Account’s address of record for all Account mailings.)



      City                                                                                                State           Zip Code



      Telephone Number (In case we have a question about your Account.)



      Email Address


             I am an employee of the State of Rhode Island or any Rhode Island local or municipal authority, or my primary place of
             employment or business is within the State of Rhode Island. By checking this box, regardless of residency, you will be defined
             as a Rhode Island resident.




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 3. Beneficiary information (The Beneficiary is the future student.)

      Legal Name (First name) (Required)                                                                                                                     (m.i.)



      Legal Name (Last name) (Required)



      Social Security or Taxpayer Identification Number (Required)                                   Birth Date (mm/dd/yyyy) (Required)



      Citizenship (If other than U.S. citizen, please indicate country of citizenship.)


             Check if Beneficiary’s address is the same as Account Owner’s, otherwise complete the following:



      Mailing Address



      City                                                                                            State         Zip Code
     Relationship of Account Owner to Beneficiary

             Parent                    Guardian                      Grandparent                Friend                  Self		                Other


 4. Successor Account Owner information (Optional)
     • As the Account Owner, you may designate a Successor Account Owner to take control of the Account in the event of your death.
     • The person you designate as a Successor Account Owner must be 18 years old.
     • You may revoke or change your designation later by completing the appropriate form.
     • See the CollegeBound 529 Program Description for more information.


      Legal Name (First name)/or Trust name                                                                                                                  (m.i.)



      Legal Name (Last name)/or remaining Trust name



      Birth Date or Trust Date (mm/dd/yyyy)




                                                                                          3
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 5. Interested Party information (Optional)
     Complete this section if you want to add an individual as an interested party to the Account. An interested party will be able to call,
     receive certain information verbally about the Account, and receive quarterly statements. An interested party will not be allowed to
     make changes to the Account or request transactions.


      Name



      Mailing Address



      City                                                                                  State           Zip Code


      Telephone Number

     Relationship to Account Owner.

             Family Member                 Compliance                Other


 6. Financial Advisor (To be completed by the Financial Advisor.)


      Firm Name



      Financial Advisor Name (first, middle initial, last)



      Branch Number (if applicable)                          Advisor ID Number/IRD Number   BIN Number (if applicable)                      Matrix Level



      Street Address



      City                                                                                  State          Zip Code



      Telephone Number

      Authority to Financial Advisor
      The Financial Advisor indicated above is authorized to receive confirmations and statements, initiate contributions, perform
      investment option changes, make qualified withdrawals, inquire, and have access to my Account. He or she will not be permitted to
      change the Account Owner, Beneficiary, Successor Account Owner, Interested Party, firm, or Financial Advisor. The Financial Advisor
      will not be able to add, change or delete banking instructions, or to transfer assets out or roll assets out of your Account.

       S I G N AT U RE
      Financial Advisor Authorized Signature                                                               Date (mm/dd/yyyy)




                                                                                      4
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 7. Rights of Accumulation (ROA) (Optional)

      Complete this section if an immediate family member owns units in CollegeBound 529 that will be counted toward the reduced sales
      charge. ROA applies to Account Owners and immediate family members with combined assets that reach a breakpoint discount level
      in Class A Units. Please see the CollegeBound 529 Program Description for additional information. If you wish to add more than two
      immediate family members, please attach a separate sheet and include the information as requested below for each additional immediate
      family member.


     Legal Name of Family Member (first, middle initial, last)



     Account Number



     Legal Name of Family Member (first, middle initial, last)



     Account Number



 8. Sales Charge Waiver

            F ee-Based Account: Check this box if you are investing in CollegeBound 529 through a fee-based agreement with your
            Financial Advisor that will enable you to purchase your investment in the plan at the Portfolio Unit Value.

            S
             ales Charge Wavier: Check this box if your Financial Advisor has deemed appropriate; this will enable you to purchase your
            investment in the plan at the Portfolio Unit Value.




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 9. Investment Option selection
     • Before choosing your Investment Option(s), please read the CollegeBound 529 Program Description available at
        www.collegebound529.com for complete information about the Investment Options.
     • Please select one or more Investment Options from the choices below. If you choose one Investment Option, please indicate 100%
       next to that option. If you choose more than one Investment Option, please indicate the percentage amount of the contribution you
       would like invested into each of the selected Investment Options.
     • Use whole percentages only.
     • Your total Investment Option percentages must equal 100%.


     Age-Based Portfolios:		
     Invesco CollegeBound Today Portfolio                                          %
     Invesco CollegeBound 2017-2018 Portfolio                                      %
     Invesco CollegeBound 2019-2020 Portfolio                                      %                    Please select only one
                                                                                                        Unit Class:
     Invesco CollegeBound 2021-2022 Portfolio                                      %
     Invesco CollegeBound 2023-2024 Portfolio                                      %                        Class
                                                                                                                A
                                                                                                            (In-State RZ)
     Invesco CollegeBound 2025-2026 Portfolio                                      %
     Invesco CollegeBound 2027-2028 Portfolio                                      %                        Class
                                                                                                                  C
                                                                                                            (In-State RA)
     Invesco CollegeBound 2029-2030 Portfolio                                      %
     Invesco CollegeBound 2031-2032 Portfolio                                      %
     Invesco CollegeBound 2033-2034 Portfolio                                      %
     Invesco CollegeBound 2035-2036 Portfolio                                      %

     Target Risk Portfolios:
     Invesco Conservative College Portfolio                                        %
     Invesco Moderate College Portfolio                                            %
     Invesco Growth College Portfolio                                              %


     Individual Options:
     Invesco Stable Value Portfolio                                                %
     Invesco Short Duration Inflation Protected Portfolio                          %
     Invesco Core Plus Bond Portfolio                                              %
     Invesco Equally-Weighted S&P 500 Portfolio                                    %
     Invesco Diversified Dividend Portfolio                                        %
     PowerShares FTSE RAFI US 1500 Small-Mid Portfolio                             %
     Invesco Small Cap Growth Portfolio                                            %
     Invesco International Growth Portfolio                                        %
     PowerShares FTSE RAFI Developed Markets ex-U.S. Portfolio                     %
     Invesco Equity and Income Portfolio                                           %
     Invesco Global Sustainable Equity Portfolio                                   % 		

     		                                                      Total       1   0   0 %




                                                                     6
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10. Contribution Method
     • Your initial contribution can come from several sources combined but you must check at least one source. If you combine sources, check
       the appropriate box for each source and write in the contribution amount for each.
     • Contributions by any source will not be available for withdrawal for seven business days.
     Source of funds (Check all that apply.):

     A.     Personal check.
            Important: All checks must be payable to CollegeBound 529.
                $                 ,          .
                    Amount

     B.     Rollover
                      from another 529 plan, Education Savings Account (ESA), or Qualified U.S. Savings Bond to a CollegeBound
            529 Account. Complete and include an Incoming Rollover Form, available online at www.collegebound529.com or by
            calling 1.877.615.4116. By law, rollovers between 529 plans for the same Beneficiary are permitted only once every 12 months.
            Note: Your rollover will be invested into Class AR Units if Broker Dealer allowed. Please see the CollegeBound 529 Program
            Description for more information.
                $                 ,          .
                    Amount

     C.     Indirect
                     Rollover. A check is included from another 529 plan, ESA, or Qualified U.S. Savings Bond that was redeemed within
            the last 60 days. You must provide an account statement from your former account or IRS form 1099-INT or 1099-Q showing the
            contribution and earnings portion of the redemption. If these forms are not provided, the entire amount will be treated as earnings.
            By law, rollovers between 529 plans for the same Beneficiary are permitted only once every 12 months.
            $                 ,          .                   $                     ,          .                 $                  ,                .
                Amount of Rollover                               Principal (Basis)                                  Earnings

     D.     Recurring
                       Contributions. You can have a set amount automatically transferred from your bank, savings and loan, or credit
            union account monthly or quarterly, or you can choose the months in which you would like your Recurring Contributions to occur.
            Money will be transferred electronically based on the frequency you select into your CollegeBound 529 Account. You may
            change the investment amount and frequency at any time by logging onto your Account at www.collegebound529.com or by
            calling 1.877.615.4116. To add Recurring Contributions instructions or multiple bank accounts, attach a separate sheet with the
            information requested in Sections 10D and 10F for each additional Recurring Contributions instruction or bank account.
            Important: To set up this option, you must provide bank information in Section 10F.

            Amount of Debit: $25 $50                              $100               $150     $250      Other   $       ,                 . 0   0
            				                                                                                                    Amount

                Frequency (Check One):           Monthly                    Quarterly                Custom
     			                                                              (Every three months.)


       Custom Only:                              January                    February                 March                        April
      (Select months you
      would like your Recurring
     		                                          May                        June                     July                         August
      Contributions to occur.)
     		                                          September                  October                  November                     December

      Start Date:*
     		                                  Date (mm/dd/yyyy)


           *CollegeBound 529 must receive instructions at least three business days prior to the day of the month specified; otherwise, debits
             from your bank account will begin the following month on the day specified. Please review your quarterly statements for details of
             these transactions. If the date is not specified, this option will begin the month following the receipt of this request, on the 10th
             day of the month.
                                                                               7
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                Annual Increase. You may increase your Recurring Contributions automatically on an annual basis. Your contribution will be
                adjusted each year in the month that you specify by the amount indicated.
                Amount of increase:            $          ,            . 0 0

                Month**:
     ** T he month in which your Recurring Contributions will be increased. The first increase will happen at the first occurrence of the
        month selected.

     E.         E lectronic Funds Transfer (EFT). Through EFT, you can make contributions online or by phone whenever you want by transferring
                money from your bank account. We will keep your bank instructions on file for future EFT contributions. To set up an EFT, you must
                provide bank information in Section 10F. The Plan may place a limit on the total dollar amount per day you may contribute to an
                 Account by EFT. (The amount below will be a one-time EFT contribution to open your Account.)
                 $                  ,             .
                      Amount

     F. Bank information. Required to establish Recurring Contributions or EFT service.
          Recurring Contributions and an EFT can be made only through Accounts held by a U.S. bank, savings and loan association, or credit union
          that is a member of the Automated Clearing House (ACH) network. Money market mutual funds and cash management Accounts offered
          through non-bank financial companies cannot be used.
          IMPORTANT: By signing this Enrollment Form, you agree and confirm that your ACH transactions will not involve the branches or
          offices of a bank or other financial services company located outside the territorial jurisdiction of the United States.



          Bank Name

                                                                                                             Account Type:
          Bank Routing Number                                 Bank Account Number                            (Check One.)      Checking      Savings

          Names on Bank Account

          Name (first, middle initial, last)



          Joint Bank Account Owner’s Name (first, middle initial, last)


     G.         P
                 ayroll Direct Deposit. If you want to make contributions to your CollegeBound 529 Account directly as a Payroll Direct Deposit,
                you must contact your employer’s payroll office to verify that you can participate. Payroll Direct Deposit contributions will not be
                made to your CollegeBound 529 Account until you have received a Payroll Direct Deposit Confirmation Form from CollegeBound
                529, provided your signature and Social Security or taxpayer identification number on the form, and submitted the form to your
                employer’s payroll office. The amount you indicate below will be in addition to Payroll Direct Deposits that you may have previously
                established for other CollegeBound 529 Accounts.

     		        Amount of Payroll Direct Deposit each pay period:                $       ,   . 0   0




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 11. Systematic Reallocation (Optional)
     The Systematic Reallocation allows you to exchange from one Investment Option to one or more other Investment Options within your
     Account on a pre-scheduled basis.
     • To start a Systematic Reallocation you must designate a minimum of $5,000 to be exchanged from one Investment Option to one
       or more Investment Options on a pre-scheduled basis. The Source Portfolio must have a minimum of $5,000 in assets to start the
       Systematic Reallocation.
     • Your entire initial deposit does not need to be included in the Systematic Reallocation.
     • You must designate a minimum of $500 for each monthly or quarterly scheduled exchange.
     • Creating a Systematic Reallocation at the time of enrollment will NOT count towards your twice per calendar year Investment
       Option change limit. To start a Systematic Reallocation at the time of enrollment you must mail a contribution check with this
       completed form to the Plan.
     • If you make any changes to or cancel an established Systematic Reallocation it will count towards your twice per calendar year
       Investment Option change limit.

      Frequency (Check one.):           Monthly          Quarterly (Every three months.)           			

      Amount:                   $            ,           . 0   0

      Start Date:*
                                    Date (mm/dd/yyyy)

      *The Program must receive instructions at least three business days prior to the indicated start date. Please review your quarterly
       statements for details of these transactions. If the date is not specified, this option will begin the month following the receipt of this
       request, on the 10th day of the month.


      Source Portfolio:

      Target Portfolio:
                                                                                                      , $           ,              . 0     0
      Investment Option					                                                        		                      Dollar Amount ($500 Minimum)

                                                                                                      , $           ,              . 0     0
      Investment Option							                                                                              Dollar Amount ($500 Minimum)

                                                                                                      , $           ,              . 0     0
      Investment Option							                                                                              Dollar Amount ($500 Minimum)


      Stop Type (Select one):
              Stop Date:			
             				           Date (mm/dd/yyyy)

        When total amount of Reallocation equals: $               ,                                  . 0     0
      							                                       ($5,000 Minimum)

                     When Complete Balance of the “Source Portfolio” Investment Option is depleted.		




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 12. Signature and Certification — YOU MUST SIGN BELOW
     By signing below, I apply to open an Account in CollegeBound 529 and I hereby certify that:
     • I have received and read this form and agree to the terms and conditions of the CollegeBound 529 Program Description which governs all
         aspects of this Account and is incorporated herein by reference. I will retain a copy of each for my records.
     • All of the information I have provided on this form is accurate and complete and that I am bound by the terms, rights and responsibilities
         stated in the CollegeBound 529 Program Description and this form, and by any and all statutory, administrative and operating procedures
         that govern CollegeBound 529. Except as set forth below, I understand that the CollegeBound 529 Program Description, and Enrollment Form
         and any subsequent forms signed by me constitute the entire agreement between me and CollegeBound 529. No person is authorized to
         make an oral modification to this agreement.
     • I understand investments in CollegeBound 529 are not guaranteed or insured by the Federal Deposit Insurance Corporation (FDIC) or any
         other governmental entity, and are not deposits or other obligations of any depository institution. I understand both the principal I contribute
         to my Account and any investment returns are not guaranteed by CollegeBound 529, the State of Rhode Island, the Office of the General
         Treasurer of the State of Rhode Island, the Rhode Island State Investment Commission, Ascensus College Savings Recordkeeping Services,
         LLC (the “Program Manager”) and its affiliates, Invesco Advisers, Inc., Invesco Distributors, Inc. and their respective agents, employees
         and affiliates, (collectively, “CollegeBound 529 Associated Persons”), and are subject to investment risks including the loss of the principal
         amount invested.
     • I understand that participation in CollegeBound 529 does not guarantee that contributions and the investment return on contributions, if
         any, will be adequate to cover tuition and other qualified higher education expenses or that a Beneficiary will be admitted to or permitted to
         continue to attend an Eligible Educational Institution.
     • I intend to use my Account solely to pay the qualified higher education expenses of the Beneficiary.
     • I understand that by signing this Enrollment Form, I am authorizing CollegeBound 529 and its service providers, including the Program
         Manager and its affiliates to provide my Financial Advisor with access to my Account and perform transactions on my behalf. I agree to hold
         harmless the CollegeBound 529 Associated Persons from any claims I make and/or losses I incur as a result of the acts or omissions of my
         Financial Advisor.
     • If this new Account is being opened because a former Account Owner is deceased or legally incapacitated and I had been designated the
         Successor Account Owner on that Account, by signing below I certify that I am not aware of any adverse claim of ownership or court order
         relating to the ownership of this Account and I agree to hold harmless CollegeBound 529 Associated Persons from any third party claims
         relating to the transfer of ownership to me.
     • If I am rolling over assets from another 529 Plan, by signing below I certify that there has not been a rollover for this Beneficiary during the
         prior 12-month period. I further understand that moving assets among the same Account Owner and Beneficiary Account that is in any 529
         Plan issued by the State of Rhode Island will count towards my permitted twice per calendar year investment option change limit.
     • If I have chosen the Recurring Contributions or EFT option, I authorize the Program Manager and its designees, upon telephone or online
         request, to pay amounts representing redemptions made by me or to secure payment of amounts invested by me, by initiating credit or debit
         entries to my Account at the bank named in Section 10F. I authorize the bank to accept any such credits or debits to my Account without
         responsibility as to their correctness. I acknowledge that the origination of ACH transactions involving my bank Account must comply with
         U.S. law. I further agree that CollegeBound 529 Associated Persons will not incur any loss, liability, cost, or expense for acting upon my
         telephone or online request. I understand that this authorization may be terminated by me at any time by notifying CollegeBound 529 and
         the bank by telephone or in writing, and that the termination request will be effective as soon as CollegeBound 529 and the bank have had a
         reasonable amount of time to act upon it. I certify that I have authority to transact on the bank account identified by me in Section 10F.
     • If I am establishing Systematic Reallocation, I authorize CollegeBound 529 to process the periodic reallocation as indicated. I understand that
         making changes to an established Systematic Reallocation will count towards my twice per calendar year Investment Option change limit.
     • To the best of my knowledge, each contribution to my Account, when added to the value of all other Accounts established for the same
         Beneficiary in 529 plans issued by the State of Rhode Island will not cause the aggregate balances in such Accounts to exceed the Maximum
         Account Balance (as described in the CollegeBound 529 Program Description) then in effect or the cost in current dollars of qualified higher
         education expenses that I reasonably anticipate the Beneficiary will incur.
     • If the Account is funded with UGMA/UTMA assets, I certify that I am of legal age in my state of residence, I am the parent/guardian/custodian
         of the Account, that I am authorized to open the Account, and I am not aware of any adverse claim of ownership or court order relating to this
         Account, and I agree to hold harmless the CollegeBound 529 Associated Persons from any third party claims relating to my actions.
     • If the Account is owned by an entity or trust, I certify that I am authorized to act on its behalf in making this request and that I am authorized
         to open an Account for the Beneficiary named in Section 3. I agree to promptly inform CollegeBound 529 in the event that any of the
         foregoing certifications becomes untrue. I understand and acknowledge that CollegeBound 529 has the right to terminate the entity’s
         participation in CollegeBound 529 if it has reasonable grounds to believe that any of the foregoing certifications are untrue.
     • I agree to the terms of the pre-dispute arbitration clause as described in the Participation Agreement in the CollegeBound
       529 Program Description.
       S I G NAT U R E
      Signature of Account Owner                                                                          Date (mm/dd/yyyy)
                                                                          10
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 13. Additional Information (Optional)
     It’s important that CollegeBound 529 meets the needs of Rhode Island residents. By supplying us with the following information, the
     State of Rhode Island Office of the General Treasurer can understand how the Plan is being used. Your individual information will not
     be shared with any other party and will only be seen by the Treasurer and its service providers. Your information will not be used on an
     individual basis (so your anonymity will be protected). Thank you!
     How did you hear about CollegeBound 529? (Select One.):

           Online Ad                              Magazine/Newspaper         Print Ad                                  Television

           Radio                                  School Event               Community Event                           Family/Friends

           Financial Advisor                      Upromise Website           Direct Mail                               E-Mail

           Employer                               Mailing                    Treasurer’s Website                       Other


     Educational level (Select One.):
     Select the highest level of education you, the Account Owner, have completed.


           Some high school                       High school degree         Some college                              Bachelors degree

           Associates degree                      Masters degree             Professional degree                       Doctorate degree


     Race (Select One.):

           Caucasian                              Asian                      African American                          Hispanic or Latino

           Native American                        Other




                     State of Rhode Island
                Office of the General Treasurer
                        Seth Magaziner



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